          Case 3:23-cr-08132-JJT Document 75 Filed 05/20/24 Page 1 of 3



 1
 2
 3
 4
 5
 6                          IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9       United States of America,                       No. CR-23-08132-PCT-JJT
10                           Plaintiff,                  ORDER SETTING FINAL
                                                         PRETRIAL CONFERENCE
11       v.                                              (CRIMINAL)
12       Donald Day, Jr.,
13                           Defendants.
14
15            A Final Pretrial Conference has been set for 10/2/2024 at 9:00 a.m.
16            IT IS ORDERED that the parties shall file a Notice of Joint Proposed Juror
17   Prescreening Questionnaire Questions (without duplicating those already included in the
18   Judge’s Standard Questions) by 6/17/2024. [See Judge Tuchi’s Standard Prescreening Jury
19   Questionnaire on the Court’s website: www.azd.uscourts.gov > Judge’s Information >
20   Order, Forms and Procedures.] The parties shall e-mail the Joint Proposed Prescreening
21   Questionnaire Questions in Microsoft Word format to the Chambers mailbox at
22   tuchi_chambers@azd.uscourts.gov.
23            IT IS FURTHER ORDERED that the parties shall file with the Clerk of the Court
24   the following documents by no later than 9/25/20241:
25            (1)    Joint statement of the case,
26            (2)    Joint witness list,
27
     1
       A copy of the documents shall be delivered to the Court and shall be three-hole punched on the
28   left side of the page.
        Case 3:23-cr-08132-JJT Document 75 Filed 05/20/24 Page 2 of 3



 1
            (3)    Joint voir dire questions,
 2
            (4)    Joint jury instructions
 3
            (5)    Joint verdict form,
 4
            (6)    Motions in limine,
 5
            (7)    Any other pretrial motions.
 6
            Responses to motions in limine and other pretrial motions shall be filed with the
 7
     Clerk of the Court three (3) business days before the Final Pretrial Conference. No
 8
     Replies shall be filed.
 9
            IT IS FURTHER ORDERED that the attorneys who will be responsible for the
10
     trial, as well as the Defendants, shall attend the Final Pretrial Conference. Counsel shall
11
     be prepared to discuss each of the items set forth above, as well as the following:
12
            (8)    Trial schedule,
13
            (9)    Voir dire procedures,
14
            (10)   Number of witnesses,
15
            (11)   Number of exhibits,
16
            (12)   Marking of exhibits and copies for the court,
17
            (13)   Special equipment needs,
18
            (14)   Need for an interpreter.
19
            IT IS FURTHER ORDERED that the parties shall submit their proposed voir dire
20
     questions, joint witness list, joint statement of the case, verdict form and jury instructions
21
     to the Court in Word format by email to tuchi_chambers@azd.uscourts.gov at the time they
22
     are filed.
23
            IT IS FURTHER ORDERED that the parties shall promptly notify the Court if
24
     settlement is reached.
25
            IT IS FURTHER ORDERED that counsel shall review Judge Tuchi’s statements
26
     of 1) Courtroom Protocol and 2) Trial Conduct and Decorum before the Final Pretrial
27
     Conference. A copy can be found on the Court’s website at www.azd.uscourts.gov under
28
                                                 -2-
       Case 3:23-cr-08132-JJT Document 75 Filed 05/20/24 Page 3 of 3



 1
     Judges’ Information and Orders, Forms and Procedures.
 2
           Dated this 20th day of May, 2024.
 3
 4
 5                                Honorable John J. Tuchi
                                  United States District Judge
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               -3-
